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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
________________________________

ANTHONY FRAZIER,

                           Petitioner,                      09-CR-0349A
             v.                                             11-CV-1015A
                                                         DECISION AND ORDER
UNITED STATES OF AMERICA,

                      Respondent.
_________________________________

      Petitioner Anthony Frazier has moved to withdraw the petition he filed pursuant

to 28 U.S.C. §2255. For the reasons stated below, the motion is granted.

                                      DISCUSSION

      In 2010, Petitioner pled guilty to violating 21 U.S.C. § 846 and was sentenced to

210 months’ imprisonment. See Docket 282. Petitioner then filed a timely motion to

vacate or reduce his sentence pursuant to 28 U.S.C. § 2255. Several years later, and

while his § 2255 petition was still pending, Petitioner filed a motion to reduce his

sentence pursuant to 18 U.S.C. § 3582(c)(2) based on an amendment to the U.S.

Sentencing Guidelines. While Petitioner’s § 3582 motion was pending, Petitioner then

notified the Court that “if . . . the Court grants . . . [Petitioner’s] motion for sentence

reduction pursuant to 18 U.S.C. § 3582(c)(2) . . . Defendant’s pending Section 2255

motion is moot.” Docket 536 at 5.

      The Court later granted Petitioner’s § 3582(c)(2) motion, reducing his term of

imprisonment from 210 months to 168 months. See Docket 538. In light of Petitioner’s

statement that granting his § 3582(c)(2) motion would “moot” his § 2255 petition, the

Court then directed Petitioner to clarify whether he intended to withdraw his § 2255



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petition. See Docket 539. Petitioner responded by stating that he “requests that this

. . . Court formally withdraw his previously filed § 2255 motion due to the fact that the

granting of [Petitioner’s] § 3582(c)(2) motion has made the aforementioned § 2255

motion moot.” Docket 540 at 2.

      It is unclear whether granting Petitioner’s § 3582(c)(2) motion had the effect of

mooting Petitioner’s § 2255 petition and his amended petition, which alleged, among

other things, various forms of ineffective assistance of counsel that are unrelated to the

basis for his § 3582(c)(2) motion. See Docket 337. The Court will, however, grant

Petitioner’s motion to withdraw his § 2255 petition (Docket 337) and his amended

petition (Docket 516), given that Petitioner states that granting his § 3582(c)(2) motion

“has alleviated any need, at this time, to pursue any further form of relief by way of

§ 2255 or its accompanying proceedings.” Docket 540 at 3.

                                     CONCLUSION

      Petitioner’s motion (Docket 540) to withdraw his § 2255 petition is granted. The

Clerk of the Court shall take all steps necessary to close the petition’s accompanying

civil action (11-CV-1015A).



SO ORDERED.


Dated: May 9, 2016                              _s/Richard J. Arcara_____________
       Buffalo, New York                         HONORABLE RICHARD J. ARCARA
                                                 UNITED STATES DISTRICT JUDGE




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